Order filed, September 02, 2016.




                                       In The

                     Fourteenth Court of Appeals
                                   ____________

                               NO. 14-16-00378-CV
                                 ____________

                      W &amp; T OFFSHORE INC., Appellant

                                         V.

                           LUKE MEYERS, Appellee


                    On Appeal from the 152nd District Court
                              Harris County, Texas
                       Trial Court Cause No. 2012-74366


                                     ORDER

      The reporter’s record in this case was due June 14, 2016. See Tex. R. App.
P. 35.1. On July 26, 2016, this court ordered the court reporter to file the record
within 30 days. The record has not been filed with the court. Because the
reporter’s record has not been filed timely, we issue the following order.

      We order Cynthia Montalvo, the official court reporter, to file the record in
this appeal within 30 days of the date of this order. No further extension will be
entertained absent exceptional circumstances. The trial and appellate courts are
jointly responsible for ensuring that the appellate record is timely filed. See Tex.
R. App. P. 35.3(c). If Cynthia Montalvo does not timely file the record as
ordered, we will issue an order directing the trial court to conduct a hearing to
determine the reason for the failure to file the record.



                                    PER CURIAM
